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IN THE UNITED STATES DISTRICT CGURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES OF AMERICA

Case No. 1:18-cr-83

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PAUL J. MANAFORT, JR., )
Defendant. )

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A seventeen-count Superseding Indictment charges defendant with five counts of
subscribing to false income tax returns, four counts of failing to report foreign bank
accounts, four counts of conspiracy to commit bank fraud, and four counts of bank fraud.
A typical tax and bank fraud case would ordinarily not provide much grist for the media
mill. This case is different; it is brought by the special counsel tasked with investigating
allegations of Russian tampering With the 2016 Presidential election and defendant was
associated, for a brief period with the President’s campaign for the presidency in 2016.
Thus, this case has understandably attracted substantial media attention

In light of the media attention this case has received, defendant has moved to
transfer his trial from the Alexandria Division of the Eastern District of Virginia to the
Roanoke Division of the Western District of Virginia. In support of his motion,
defendant cites Alexandria’s close proximity to Washington D.C. and the saturation of

the D.C. media market with coverage of the special counsel’s investigation and the level

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of education and political leanings of the jury pool as the main bases for requesting a
change of venue.

The applicable law governing the resolution of defendant’S motion is well settled.
The Constitution requires that a criminal defendant be tried by an impartial jury. See
U.S. Const. amend. VI, and that defendant’s trial will occur “in the State where the
Crimes have been committed.” Art. III, § 2, cl. 3. Importantly, though, Article III’s
place-of-trial requirement does not preclude transferring a trial to another jurisdiction if
extraordinary local prejudice will prevent a fair trial, in violation of the Sixth
Amendment, and the defendant requests a change of venue to protect his due process
rights. See Skilling v. Unitea' States, 561 U.S. 358, 377-78 (2010); In re Murchison, 349
U.S. 133, 136 (1955). Here, defendant has requested a change of venue and asserts that
trying this matter in the Alexandria Division will deprive him of his Sixth Amendment
right to a fair trial.

Under the Federal Rules, a criminal case must be transferred to another district “if
the court is satisfied that so great a prejudice against the defendant exists in the
transferring district that the defendant cannot obtain a fair and impartial trial there.” Fed.
R. Crim. P. Zl(a). Rule 21 recognizes that in extraordinary circumstances a defendant’s
fundamental right to trial “by an impartial jury” may be compromised by the presence of
pervasive and inflammatory pre-trial publicity. See, e.g., Ria’eau v. Louisiana, 373 U.S.
723, 726-27 (1963). However, the mere fact that a case has drawn substantial media
attention does not, by itself, warrant a change in venue. See Chana'ler v. Florida, 449

U.S. 560, 574 (1981).

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In this regard, a motion for change of venue based on pretrial publicity is analyzed
using a two-step process. The first step requires the trial court to determine whether “the
publicity is so inherently prejudicial that trial proceedings [are] presumed to be tainted.”
Um`ted States v. Bakker, 925 F.2d 728, 732 (4th Cir. 1991). This is an exacting standard
which presumes juror impartiality only in the most extreme cases. Ia’. (citing Wells v.
Murray, 831 F.2d 468, 472 (4th Cir. 1987)). Notably, the Supreme Court has previously
reversed a trial court for failing to transfer venue in three instances: Rideau, 373 U.S. at
723 ; Estes v. Texas, 381 U.S. 532 (1965); Sheppard v. Maxwell, 384 U.S. 333 (1966).

In Rideau, the Supreme Court held that the defendant could not receive a fair trial
in the district where the offense had been committed because local authorities had filmed
the defendant’s confession and broadcast that confession on several local cable stations
373 U.S. at 724-27. The Rideau Court concluded that in a small community of 150,000
residents, prejudice to the defendant could be presumed from the broadcast of
defendant’s confession to approximately 50,000 local homes. Id. at 727. Specifically,
the Supreme Court noted:

[I]n this case the people of Calcasieu Parish saw and
heard, not once but three times, a ‘trial’ of Rideau in a jail,
presided over by a sheriff, Where there was no lawyer to
advise Rideau of his right to stand mute. . . . But we do not
hesitate to hold . . . that due process of law in this case
required a trial before a jury drawn from a community of
people Who had not seen and heard Rideau's televised

‘interview.”’).

Id.

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Rideau is plainly inapposite because unlike the facts in Rideau there is no
confession here; to the contrary, the defendant in this case has consistently maintained his
innocence. Moreover, a jury once impaneled in this case will be instructed on more than
one occasion that the defendant is entitled to a presumption of innocence.

Estes and Sheppard are also inapposite; in both Estes and Sheppara', two
decisions that followed closely on the heels of Rideau, the Supreme Court reversed the
lower courts for denying the defendants’ motions to transfer venue because the local
press showered the local community with pretrial press coverage and turned the pretrial
hearings and trial proceedings in those cases into a “carnival” or “circus.” The decisions
in Estes and Sheppard stand for a simple proposition: extensive press intrusion into the
courtroom can convert legal proceedings into a media spectacle and, in tum, can violate a
defendant’s Sixth Amendment rights. No such circumstances have occurred here;
although defendant’s pretrial hearings have been extensively covered by the press, that
coverage has not resulted in anything like the carnival or circus atmosphere that existed
in Estes and Sheppard. Thus, although there has been extensive press coverage of
defendant’s pretrial proceedings, that coverage has not disrupted the “judicial serenity

and calm” to which the defendant is entitled.l Estes, supra at 53 8.

 

l Also worth noting is the Supreme Court’s decision in Murphy v. Florida, 421 U.S. 794 (1975),
where the Court affirmed the trial court’s decision denying a defendant’s motion to transfer
venue despite intense, local media coverage leading up to trial. In reaching this decision, the
Supreme Court noted that “this Court overturned a state-court conviction obtained in a trial
atmosphere that had been utterly corrupted by press coverage.” ld. at 798-799

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In addition to Rideau, Estes and Sheppard, the Supreme Court has given more
recent guidance about pretrial publicity in Skilling, 561 U.S. at 358. In Skilling, the
defendant, the former CEO of Enron - which was one of Houston’s largest employers
before its collapse _ was charged with wire and securities fraud. Skilling argued that
“hostility toward him in Houston, coupled with extensive pretrial publicity, had poisoned
potential jurors.” Id. In reviewing Skilling’s arguments regarding change of venue, the
Supreme Court considered four factors: (i) the size and characteristics of the community
in which the defendant was supposed to be tried; (ii) the nature and extent of the pretrial
publicity; (iii) the proximity of the pretrial publicity to the commencement of trial; and
(iv) any evidence of jury partiality. After considering these factors, the Skilling Court
affirmed the trial court’s decision denying that defendant’s request to move that trial from
Houston, noting that “pretrial publicity-even pervasive, adverse publicity_does not
inevitably lead to an unfair trial.” Ia’. at 385 (quoting Nebraska Press Assn. v. Stuart, 427
U.S. 539, 554 (1976)).

Based on Supreme Court precedent and careful consideration of the Skilling
factors, it is clear that defendant is not entitled to a presumption of jury partiality in this
case. As previously stated, Rideau, Estes and Sheppara' are inapposite and do not compel
the conclusion that defendant’s trial must be moved to another jurisdiction to protect is
Sixth Amendment right to an impartial jury. Moreover, careful application of the Skilling
factors to the circumstances of this case points persuasively to the conclusion that
defendant is not entitled to a presumption that an Alexandria jury cannot be impartial.

First, the Eastern District of Virginia jury pool is selected from cities and counties

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throughout Northem Virginia, a large geographic area that has a population of
approximately 3,000,000 people. Although this population is not as large as the
population of I-Iouston,2 the size of the Alexandria jury pool certainly increases the
probability that impartial jurors can be selected. Second, although the press coverage in
defendant’s case has been extensive, the reporting has been national in nature and is not
unique to this geographic area. Even assuming arguendo defendant’s point that jurors
residing inside “the Beltway” are more informed than jurors in other parts of the country
and may therefore be more likely to have prejudged this case, nothing about the jury pool
in this Division suggests that impartial jurors cannot be found through an exacting voir
dire process. The third Skilling factor is neutral at best because nationwide press
coverage of defendant’s trial will persist from now until the end of trial and perhaps
beyond. Therefore, the proximity of defendant’s pretrial publicity to the start of his trial
will be the same in Alexandria as it would be in Roanoke or Kansas City or Dallas.
Finally, the fourth Skilling factor does not point to a need to transfer Venue because there
is no evidence at this time that jurors in this Division are biased. Defendant cites several
polls that suggest that Alexandria voters are more closely aligned with the Democratic
Party than the Republican Party. Importantly, however, these polls do not account for
potential jurors residing in areas Within this Division that include higher concentrations of
conservative or Republican voters. Moreover, jurors’ political leanings are not, by

themselves, evidence that those jurors cannot fairly and impartially consider the evidence

 

2See Skilling, 561 U.S. at 381

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presented and apply the law as instructed by the Court. It would be inappropriate for
courts to move trials around the country in cases of this sort until a district could be found
where a defendant’s political views were shared by at least as many persons in the district
as those with contrary views. The Constitution does not require a search for this type of
district; instead, the Constitution requires only that a defendant be tried by fair and
impartial jurors. And on the basis of the record presented thus far, there is no reason to
believe that fair and impartial jurors cannot be found in the Eastern District of Virginia.

For all these reasons, defendant is not entitled to a presumption that the publicity
surrounding his trial “is so inherently prejudicial that [the] trial proceedings [are] . . .
tainted.” Bakker, 925 F.2d at 732. Accordingly, it is appropriate to deny defendant’s
motion for a change of venue at this time and proceed to “conduct[] a voir dire of
prospective jurors to determine if actual prejudice exists.”3 Bakker, 925 F.2d at 732
(citing Wansley v. Slayton, 487 F.2d 90, 92-93 (4th Cir.l973)) (emphasis added); Uniz‘ed
States v. Higgs, 353 F.3d 281, 307 (4th Cir. 2003). This result is fully consistent with
the Constitution, settled precedent and the record established to date in this case.

It is worth noting that in the course of conducting voir dire it is not necessary that
prospective jurors demonstrate complete ignorance of the facts of this case; rather, “[i]t is

sufficient if the juror can lay aside his impression or opinion and render a verdict based

 

3 lt is well-settled that “transfers of venue based on pre-trial publicity are not often granted, as
‘the effects of pre-trial publicity on the pool from which jurors are drawn is [generally]
determined by a careiiil and searching Voir dire examination.”’ United States v. Lindh, 212
F.Supp.2d 541, 548 (E.D. Va. 2002) (citing United States v. McVeigh, 918 F.Supp. 1467, 1470
(W.D. Okla. 1996).

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on the evidence presented in court." United States v. Lz'ndh, 212 F.Supp.2d 541, 548
(E.D. Va. 2002) (citing Bakker, 925 F.Zd at 734)_; Irvin v. Dowd, 366 U.S. 717_. 722-23
(1961)). At voir dire, the question is not whether prospective jurors “know about the
case” or have “fotmed an opinion," but whether the court can select jurors who can “lay
aside" any “pre-trial opinion" and “render a verdict based on the evidence presented in
court.” Higgs_. 353 F.3d at 307 (internal quotation marks omitted)_; see also Um'ted Slates
v. Lentz, 352 I"`. Supp. 2d 718. 722 (E.D. Va. 2005); Lindh, 212 S. Supp. 2d at 548.
Given the extensive jury questionnaire that will be filled out by all prospective jurors in
advance of the Court’s oral voir dire, there is at this time reasonable assurance that fair
and impartial jurors can be impanclcd. If this turns out not to be the case, defendant’s
motion to transfer venue will warrant reconsideration

Accordingly_,

It is hereby OR.DERED that defendant’s motion to change venue (Doc. 106) is
DENIED at this time.

The Clerk is directed to provide a copy ofthis Orde.r to all counsel of rccord.

   

Alexandria., Virginia

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